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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 MARCUS ALLEN JETER,

        Petitioner,

 v.                                                    CASE NO. 8:16-cv-2315-T-24 TGW
                                                                 8:08-cr-399-T-24 TGW

 UNITED STATES OF AMERICA,

        Respondent.
                                       /


                                           ORDER

        Petitioner, proceeding pro-se, has filed a Motion to Vacate pursuant to 28 U.S.C. §

 2255. (CV-1, CR-201). The Court has undertaken an examination of the motion as

 required by Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United

 States District Courts. After doing so, the Court concludes that it plainly appears from the

 motion as well as the record of Petitioner’s prior criminal proceedings, that he is not

 entitled to relief and that the motion must be dismissed. In view of that conclusion, the

 Court needs no response from the Government or to conduct an evidentiary hearing.

        Petitioner pled guilty to possession of a firearm during and in relation to a drug

 trafficking crime in violation of 18 U.S.C. section 924(c)(1), count two, and conspiracy to

 possess with intent to distribute 5 kilograms or more of cocaine in violation of 21 U.S.C.

 §§ 846 and 841(b)(1)(A)(ii), count one. On May 20, 2009, the Court sentenced Petitioner
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 to a term of imprisonment of 151 months as to count one, and a consecutive term of

 imprisonment of 60 months as to count two. Petitioner did not file a direct appeal.

 Petitioner now seeks relief under the auspices of § 2255, arguing that his conviction on

 count two is no longer valid because the conduct underlying the conviction is no longer a

 crime of violence under the residual clause of §924(c). Petitioner’s claim for relief rests

 on the decision in Johnson v. United States, 576 U.S. ___, 135 S.Ct. 2551, 192 L.Ed.2d

 569 (2015), in which the Supreme Court held that the residual cause of the Armed Career

 Criminal Act (“ACCA”), 18 U.S.C. § 924(e)(2)(B)(ii), was unconstitutionally vague, a

 decision that was made retroactive on collateral review by the Supreme Court in Welch v.

 United States, 578 U.S. ___, 136 S.Ct. 1257, 194 L.Ed.2d 387 (2016).

        After careful consideration, the Court concludes that Johnson affords Petitioner no

 collateral relief with regard to the conviction and sentence imposed in count two. First,

 Johnson did not address the statute under which Petitioner was convicted. Instead,

 Johnson ruled on the constitutionality of the residual clause of the ACCA. Second,

 Petitioner was convicted under 18 U.S.C. section 924(c)(1)(A)(i) of carrying a firearm

 during and in relation to a drug trafficking crime, not a crime of violence. Therefore,

 whether or not 18 U.S.C. section 924(c)(3)(B)’s definition of crime of violence is vague

 and unconstitutional has no relevance to Petitioner.




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        In addition, Petitioner’s motion is untimely, having been received by the Court on

 August 12, 2016.1 Petitioner had one year from June 26, 2015, the date Johnson was

 decided, to file his § 2255 motion based on Johnson. Petitioner’s motion was received by

 the Court on August 12, 2016

        ACCORDINGLY, for the reasons expressed, it is ORDERED AND

 ADJUDGED that Petitioner’s Motion to Vacate (CV-1, CR-201) is DISMISSED. The

 Clerk is directed to enter judgment for the United States in the civil case and then to

 CLOSE the civil case.

        DONE AND ORDERED at Tampa, Florida, on August 16, 2016.




 COPIES FURNISHED TO:
 Pro se Petitioner




        1
          It is disingenuous for Petitioner to assert, under penalty of perjury, that he
 submitted his motion for mailing on June 21, 2016. The Court finds it highly doubtful
 that it took over seven weeks for the motion to get from Georgia to Florida.

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